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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                          CIVIL DOCKET

VERSUS                                            NO. 23-735

DENKA PERFORMANCE                                 SECTION: “J”(5)
ELASTOMER LLC ET AL.


                                    ORDER

      Considering the foregoing Stipulation of Dismissal (Rec. Doc. 206),

      IT IS HEREBY ORDERED that the above-numbered and entitled cause is

DISMISSED without the admission of any issue of fact or law, with each party to

bear its own costs.

      FURTHER, IT IS ORDERED that the Clerk of Court terminate all pending

motions.

      New Orleans, Louisiana, this 10th day of March, 2025.




                                            ____________________________________
                                            CARL J. BARBIER
                                            UNITED STATES DISTRICT JUDGE
